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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LONNIE THORPE,                                   )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )   CASE NO.: 3:20-CV-02297-MEM
                                                 )
AMERICAN HONDA MOTOR CO., INC.,                  )
                                                 )
       Defendant.                                )
                                                 )

                                            ANSWER

       AND NOW, comes the Defendant, AMERICAN HONDA MOTOR CO., INC. (hereinafter

“AHM”), by and through its counsel, Clem C. Trischler, Esquire, of Pietragallo Gordon Alfano

Bosick & Raspanti, LLP, and submits this Answer to Plaintiff’s Complaint. AHM denies any and

all liability to the Plaintiff and demands the entry of judgment in its favor against the Plaintiff,

Lonnie Thorpe. By way of further response to the averments of the Plaintiff’s Complaint, AHM

submits the following:

       1.      Paragraph 1 of the Plaintiff’s Complaint is admitted.

       2.      Paragraph 2 of the Plaintiff’s Complaint is not directed to AHM. As such, no

responsive pleading is required on behalf of this Defendant. To the extent that a response may be

required, it is denied that any legal entity known as “Honda” exists. To the contrary, Honda is a

brand name referring to a full line of quality automotive and off-road products.

       3.      Paragraph 3 of the Plaintiff’s Complaint is admitted.

       4.      Paragraph 4 of the Plaintiff’s Complaint is not directed to this Defendant. As such,

no responsive pleading is required on behalf of AHM. To the extent that a response may be

required, the averments of paragraph 4 are denied.
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       5.      Paragraph 5 of the Plaintiff’s Complaint does not contain any independent averment

of fact to which any responsive pleading is required. Rather, the averments of paragraph 5

constitute legal conclusions on the subject personal jurisdiction. While no responsive pleading is

required, AHM does not contest, for purposes of this action only , that personal jurisdiction exists

in the United States District Court for the Middle District of Pennsylvania.

       6.      Paragraph 6 of the Plaintiff’s Complaint is admitted in part and denied in part. It is

admitted that AHM is engaged in the business of selling and distributing high-quality off-road

recreational vehicles, including the 2016 Honda Pioneer identified as Vehicle Identification

Number 1HFVE040XG4002056 (the “Subject Vehicle”). It is denied that AHM was responsible

for the design or manufacture of the Subject Vehicle. To the contrary, the 2016 Pioneer 1000 was

designed by Honda R&D Co., Ltd., and manufactured by Honda of South Carolina Mfg., Inc.

       7.      While paragraph 7 of the Plaintiff’s Complaint is denied as stated, it is admitted

that AHM distributed and sold the 2016 Honda Pioneer 1000, identified as Vehicle Identification

Number 1HFVE040XG4002056, through its network of independent dealerships.

       8.      Paragraph 8 of the Plaintiff’s Complaint is admitted in part and denied in part. It is

admitted that AHM is engaged in the business of selling and distributing high-quality off-road

recreational vehicles, including the 2016 Honda Pioneer identified as Vehicle Identification

Number 1HFVE040XG4002056 (the “Subject Vehicle”). It is denied that AHM was responsible

for the design or manufacture of the Subject Vehicle. To the contrary, the 2016 Pioneer 1000 was

designed by Honda R&D Co., Ltd., and manufactured by Honda of South Carolina Mfg., Inc.

       9.      Paragraph 9 of the Plaintiff’s Complaint is denied. After reasonable investigation,

this Defendant is without knowledge or information sufficient to form a belief as to the truth or

falsity of the averments set forth at paragraph 9; therefore, the same are denied.



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       10.     Paragraph 10 of the Plaintiff’s Complaint is denied. After reasonable investigation,

and at present, this Defendant is without knowledge or information concerning all of the facts,

circumstances, and events which surround the reported incident of September 10, 2016; therefore,

all of the averments of paragraph 10 are denied.

       11.     Paragraph 11 of the Plaintiff’s Complaint is denied. After reasonable investigation,

and at present, this Defendant is without knowledge or information concerning all of the facts,

circumstances, and events which surround the reported incident of September 10, 2016; therefore,

all of the averments of paragraph 11 are denied.

       12.     Paragraph 12 of the Plaintiff’s Complaint is denied. After reasonable investigation,

this Defendant is without knowledge or information sufficient to form a belief as to the truth or

falsity of the averments set forth at paragraph 12; therefore, the same are denied.

       13.     Paragraph 13 of the Plaintiff’s Complaint is denied.

       14.     Paragraph 14 of the Plaintiff’s Complaint is denied.

       15.     Paragraph 15 of the Plaintiff’s Complaint is denied.

       16.     Paragraph 16 of the Plaintiff’s Complaint is denied.

       17.     Paragraph 17 of the Plaintiff’s Complaint is denied.

       18.     Paragraph 18 of the Plaintiff’s Complaint is denied.

       19.     Paragraph 19 of the Plaintiff’s Complaint is denied. It is denied that any recall

relating to cabin heat was issued by AHM. To the contrary, on or about October 12, 2017, AHM

issued a Service Bulletin notifying consumers of the availability of a cabin comfort improvement

kit to address and to improve cabin comfort in certain Pioneer 1000 vehicles modified with

accessory roofs and windshields.




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        20.        Paragraph 20 of the Plaintiff’s Complaint is denied. It is denied that the averments

of paragraph 20 contain a complete or accurate statement of the recommendations and procedures

outlined in the Service Bulletin. To the contrary, the Service Bulletin applicable to the cabin

comfort improvement kit is a written document, the terms of which are self-explanatory, and AHM

denies that the averments of paragraph 20 represent a complete or accurate statement or summary

of that writing.

        21.        Paragraph 21 of the Plaintiff’s Complaint is denied. After reasonable investigation,

AHM is without knowledge or information sufficient to form a belief as to the truth or falsity of

the averments set forth at paragraph 21; therefore, all of the averments of paragraph 21 are denied.

        22.        Paragraph 22 of the Plaintiff’s Complaint is denied. The averments of paragraph

22 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that the 2016 Honda Pioneer 1000 was defective or

unreasonably dangerous. Further, it is denied that “reasonable alternative designs” were necessary.

To the contrary, AHM avers that the 2016 Honda Pioneer 1000 was properly designed and

manufactured and was reasonably safe for its intended use when operated in a reasonable, prudent,

and proper manner. Further, AHM avers that no defect existed in the Subject Vehicle that caused

or contributed in any way to this incident or any of the Plaintiff’s alleged injuries.

        23.        Paragraph 23 of the Plaintiff’s Complaint is denied. The averments of paragraph

23 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that the 2016 Honda Pioneer 1000 was defective or

unreasonably dangerous. Further, it is denied that “reasonable alternative designs” were necessary.

To the contrary, AHM avers that the 2016 Honda Pioneer 1000 was properly designed and

manufactured and was reasonably safe for its intended use when operated in a reasonable, prudent,



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and proper manner. Further, AHM avers that no defect existed in the Subject Vehicle that caused

or contributed in any way to this incident or any of the Plaintiff’s alleged injuries.

                                     ANSWER TO COUNT I

       24.     Paragraphs 1 through 24 of this Answer are incorporated by reference in response

to the averments of paragraph 24 of the Plaintiff’s Complaint.

       25.     Paragraph 25 of the Plaintiff’s Complaint is denied. The averments of paragraph

25 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that AHM breached any duty of care to the Plaintiff that

may have existed under the law.

       26.     Paragraph 26 of the Plaintiff’s Complaint is denied. The averments of paragraph

26 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, the averments of paragraph 26 are denied.

       27.     Paragraph 27 of the Plaintiff’s Complaint is denied. It is denied that AHM was

responsible in any way for the design, engineering, construction, manufacture, inspection, or

testing of the Subject Vehicle. Further, it is denied that the 2016 Honda Pioneer 1000 in question

was negligently designed, engineered, constructed, built, inspected, tested, or manufactured. To

the contrary, AHM avers that the Subject Vehicle was properly designed and manufactured and

was reasonably safe for its intended use when operated and used in a reasonable, prudent, proper,

and careful manner.

       28.     Paragraph 28 of the Plaintiff’s Complaint is denied. The averments of paragraph

28 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that the 2016 Honda Pioneer 1000 in question was defective

in any manner. To the contrary, this Defendant avers that its actions and conduct were reasonable,



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prudent, and proper at all times material and relevant hereto. Further, it is averred that the 2016

Honda Pioneer 1000 was properly designed and manufactured and did not contain any defect that

caused or contributed in any way to this incident or any of the Plaintiff’s alleged injuries.

       29.     Paragraph 29 of the Plaintiff’s Complaint is denied. The averments of paragraph

29 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that AHM was negligent in any manner. To the contrary,

this Defendant avers that its actions and conduct were reasonable, prudent, and proper at all times

material and relevant hereto.

       30.     Paragraph 30 of the Plaintiff’s Complaint is denied. The averments of paragraph

30 state conclusions of law concerning the legal duty and responsibility of a product supplier.

These legal conclusions are denied as stated.

       31.     Paragraph 31 of the Plaintiff’s Complaint is denied. The averments of paragraph

31 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that AHM acted in a negligent, careless, or reckless manner.

To the contrary, this Defendant avers that its actions and conduct were reasonable, prudent, and

proper at all times material and relevant hereto.

       32.     Paragraph 32 of the Plaintiff’s Complaint is denied. The averments of paragraph

32 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that AHM acted in a negligent, careless, or reckless manner.

To the contrary, this Defendant avers that its actions and conduct were reasonable, prudent, and

proper at all times material and relevant hereto. By way of further response, this Defendant is

without knowledge or information concerning the nature, extent, or existence of any injuries or

damages claimed by the Plaintiff. Therefore, the remaining averments of paragraph 32 are denied.



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       33.     Paragraph 33 of the Plaintiff’s Complaint is denied. The averments of paragraph

33 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that AHM acted in a negligent, careless, or reckless manner.

To the contrary, this Defendant avers that its actions and conduct were reasonable, prudent, and

proper at all times material and relevant hereto. By way of further response, this Defendant is

without knowledge or information concerning the nature, extent, or existence of any injuries or

damages claimed by the Plaintiff. Therefore, the remaining averments of paragraph 33 are denied.

       34.     Paragraph 34 of the Plaintiff’s Complaint is denied. The averments of paragraph

34 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that AHM acted in a negligent, careless, or reckless manner.

To the contrary, this Defendant avers that its actions and conduct were reasonable, prudent, and

proper at all times material and relevant hereto. By way of further response, this Defendant is

without knowledge or information concerning the nature, extent, or existence of any injuries or

damages claimed by the Plaintiff. Therefore, the remaining averments of paragraph 34 are denied.

       35.     Paragraph 35 of the Plaintiff’s Complaint is denied. The averments of paragraph

35 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that AHM acted in a negligent, careless, or reckless manner.

To the contrary, this Defendant avers that its actions and conduct were reasonable, prudent, and

proper at all times material and relevant hereto. By way of further response, this Defendant is

without knowledge or information concerning the nature, extent, or existence of any injuries or

damages claimed by the Plaintiff. Therefore, the remaining averments of paragraph 35 are denied.

       WHEREFORE, Defendant, American Honda Motor Co., Inc., denies any and all liability

to the Plaintiff and demands the entry of judgment in its favor against the Plaintiff, Lonnie Thorpe.



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       A JURY TRIAL IS DEMANDED.

                                     ANSWER TO COUNT II

       36.     Paragraphs 1 through 35 of this Answer are incorporated by reference in response

to the averments of paragraph 36 of the Plaintiff’s Complaint.

       37.     Paragraph 37 of the Plaintiff’s Complaint is denied. It is denied that AHM was

responsible for the design, manufacture, testing, assembly, planning, engineering, construction, or

building of the 2016 Honda Pioneer 1000 in question. To the contrary, AHM is an exclusive

United States distributor of Honda off-road products, and this Defendant’s role with respect to the

Subject Vehicle is limited to that of the distributor of the vehicle.

       38.     Paragraph 38 of the Plaintiff’s Complaint is denied. The averments of paragraph

38 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that the 2016 Honda Pioneer 1000 was defective in any

manner. To the contrary, this Defendant avers that the Subject Vehicle was properly designed and

manufactured and was reasonably safe for its intended use when operated and used in a reasonable,

prudent, proper, and careful manner.

       39.     Paragraph 39 of the Plaintiff’s Complaint is denied. The averments of paragraph

39 state conclusions of law to which no responsive pleading is required. To the extent a response

may be required, all of the averments of paragraph 39 are denied.

       40.     Paragraph 40 of the Plaintiff’s Complaint is denied. After reasonable investigation,

this Defendant is without knowledge or information sufficient to form a belief as to the truth or

falsity of the averments set forth at paragraph 40; therefore, the same are denied.

       41.     Paragraph 41 of the Plaintiff’s Complaint is denied. In particular, the averments of

paragraph 41 state conclusions of law to which no responsive pleading is required. Insofar as a



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response may be required, this Defendant is presently without knowledge or information

concerning all of the circumstances relating to Plaintiff’s use of this product; therefore, the

averments of paragraph 41 are denied.

       42.    Paragraph 42 of the Plaintiff’s Complaint is denied.

       43.    Paragraph 43 of the Plaintiff’s Complaint is denied. The averments of paragraph

43 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, the averments of paragraph 43 are denied.

       44.    Paragraph 44 of the Plaintiff’s Complaint is denied. The averments of paragraph

44 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, the averments of paragraph 44 are denied.

       45.    Paragraph 45 of the Plaintiff’s Complaint is denied. The averments of paragraph

45 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, the averments of paragraph 45 are denied.

       46.    Paragraph 46 of the Plaintiff’s Complaint is denied. The averments of paragraph

46 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, the averments of paragraph 46 are denied.

       47.    Paragraph 47 of the Plaintiff’s Complaint is denied. The averments of paragraph

47 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, the averments of paragraph 47 are denied.

       48.    Paragraph 48 of the Plaintiff’s Complaint is denied. The averments of paragraph

48 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that the 2016 Honda Pioneer 1000 in question was sold

without adequate or appropriate warnings and instructions. To the contrary, this Defendant avers



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that the product warnings, instructions, and safety messaging system that was provided with the

Subject Vehicle were reasonable, prudent, and adequate as a matter of law.

       49.    Paragraph 49 of the Plaintiff’s Complaint is denied. The averments of paragraph

49 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that any defect existed in the 2016 Honda Pioneer 1000 in

question that caused or contributed in any way to this incident or any of the Plaintiff’s alleged

injuries. To the contrary, AHM avers that the 2016 Honda Pioneer 1000 was properly designed

and manufactured and was reasonably safe for its intended use when operated and used in a

reasonable, prudent, proper, and careful manner. By way of further response, this Defendant is

presently without knowledge or information concerning the nature, extent, or existence of any

injuries or damages claimed by this Plaintiff. Therefore, all of the remaining averments of

paragraph 49 are also denied.

       50.    Paragraph 50 of the Plaintiff’s Complaint is denied. The averments of paragraph

50 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that any defect existed in the 2016 Honda Pioneer 1000 in

question that caused or contributed in any way to this incident or any of the Plaintiff’s alleged

injuries. To the contrary, AHM avers that the 2016 Honda Pioneer 1000 was properly designed

and manufactured and was reasonably safe for its intended use when operated and used in a

reasonable, prudent, proper, and careful manner. By way of further response, this Defendant is

presently without knowledge or information concerning the nature, extent, or existence of any

injuries or damages claimed by this Plaintiff. Therefore, all of the remaining averments of

paragraph 50 are also denied.




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       51.     Paragraph 51 of the Plaintiff’s Complaint is denied. The averments of paragraph

51 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that any defect existed in the 2016 Honda Pioneer 1000 in

question that caused or contributed in any way to this incident or any of the Plaintiff’s alleged

injuries. To the contrary, AHM avers that the 2016 Honda Pioneer 1000 was properly designed

and manufactured and was reasonably safe for its intended use when operated and used in a

reasonable, prudent, proper, and careful manner. By way of further response, this Defendant is

presently without knowledge or information concerning the nature, extent, or existence of any

injuries or damages claimed by this Plaintiff. Therefore, all of the remaining averments of

paragraph 51 are also denied.

       52.     Paragraph 52 of the Plaintiff’s Complaint is denied. The averments of paragraph

52 state conclusions of law to which no responsive pleading is required. To the extent that a

response may be required, it is denied that any defect existed in the 2016 Honda Pioneer 1000 in

question that caused or contributed in any way to this incident or any of the Plaintiff’s alleged

injuries. To the contrary, AHM avers that the 2016 Honda Pioneer 1000 was properly designed

and manufactured and was reasonably safe for its intended use when operated and used in a

reasonable, prudent, proper, and careful manner. By way of further response, this Defendant is

presently without knowledge or information concerning the nature, extent, or existence of any

injuries or damages claimed by this Plaintiff. Therefore, all of the remaining averments of

paragraph 52 are also denied.

       WHEREFORE, Defendant, American Honda Motor Co., Inc., denies any and all liability

to the Plaintiff and demands the entry of judgment in its favor against the Plaintiff, Lonnie Thorpe.

       A JURY TRIAL IS DEMANDED.



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                               FIRST AFFIRMATIVE DEFENSE

       53.     AHM submits that the averments of Plaintiff’s Complaint fail to state a claim upon

which relief can be granted.

                               SECOND AFFIRMATIVE DEFENSE

       54.     Any injuries and damages claimed by the Plaintiff were solely, directly, and

proximately caused by the negligence of the Plaintiff, Lonnie Thorpe.

       55.     The Plaintiff was negligent generally and in each of the following particulars:

               (a)   In failing to follow the warnings and instructions provided with the vehicle;

               (b)   In acting in a careless and reckless manner;

               (c)   In failing to heed warnings and instructions for the safe use of this product;

               (d)   In using and/or operating the vehicle in an improper and negligent manner;

               (e)   In otherwise being negligent;

               (f)   In failing to exercise reasonable care and caution for his own safety and

                     protection; and

               (g)   In failing to utilize a helmet and take other reasonable precautions to prevent

                     and/or mitigate the injuries.

       56.     Defendant hereby asserts the terms and provisions of the Pennsylvania

Comparative Negligence Act, 42 Pa. C.S.A. § 7102, as a defense to the claims raised in this action.

                               THIRD AFFIRMATIVE DEFENSE

       57.     The Plaintiff may have knowingly and voluntarily assumed the risk of injury by

virtue of his careless, reckless, and negligent acts. AHM reserves the right to assert the assumption

of risk doctrine as a defense to this claim.




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                                FOURTH AFFIRMATIVE DEFENSE

           58.   The 2016 Honda Pioneer 1000 was free of defects at the time it was designed,

manufactured, and originally sold. Further, AHM avers that the vehicle in question did not contain

any defect in design or manufacture that caused or contributed to this incident or the Plaintiff’s

alleged damages.

           59.   AHM avers that the 2016 Honda Pioneer 1000 was of merchantable quality and

was reasonably fit for its intended use. At all times material and relevant hereto, the actions and

conduct of this Defendant was reasonable, prudent, and proper.

           60.   This Defendant avers that the 2016 Honda Pioneer 1000 in question was properly

designed and manufactured; was safe for its foreseeable and intended use; and it did not contain

any defect in design or manufacture that caused or in any way contributed to this incident or the

Plaintiff’s alleged injuries.

                                FIFTH AFFIRMATIVE DEFENSE

           61.   Some or all of the Plaintiff’s claims may be barred by the doctrine of spoliation of

 evidence if it is established that the vehicle in question or any of its component parts or any other

 physical evidence has not been preserved. This Defendant reserves the right to raise spoliation as

 a defense to this claim if relevant physical evidence has not been properly preserved.

                                SIXTH AFFIRMATIVE DEFENSE

           62.   To the extent the evidence reveals that the 2016 Honda Pioneer 1000 in question

 was not properly maintained or was altered, abused, misused, or substantially changed, this

 Defendant avers that the claims raised by the Plaintiff are barred as a matter of law. This Defendant

 asserts product misuse, abuse, alteration, and substantial change of defenses to the Plaintiff’s

 claims.



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                               SEVENTH AFFIRMATIVE DEFENSE

        63.      To the extent that discovery may establish that the Plaintiff’s injuries and damages

were proximately caused by the acts, omissions, or conduct of third parties, this Defendant avers

that it has no liability to the Plaintiff.

                                EIGHTH AFFIRMATIVE DEFENSE

        64.      Any injuries or damages sustained by the Plaintiff may have been the result of

intervening and superseding causes which were not within the control of this Defendant.

                                 NINTH AFFIRMATIVE DEFENSE

        65.      The Plaintiff’s claims are barred under the Restatement (Second) of Torts: Product

Liability §§ 402A and 402B and the comments thereto and/or the Restatement (Third) of Torts:

Product Liability and the comments thereto.

                                 TENTH AFFIRMATIVE DEFENSE

        66.      Each purported cause of action in the Plaintiff’s Complaint fails as a matter of law

as no defect existed in the 2016 Honda Pioneer 1000 that caused or contributed in any way to this

incident. To the contrary, the vehicle in question met or exceeded all applicable industry standards

and regulations at time of original sale and was safe and appropriate for use.

                              ELEVENTH AFFIRMATIVE DEFENSE

        67.      Under Tincher v. Omega Flex, any vehicle that may have been supplied by this

Defendant was not defective, as the benefits associated with the design far exceeded the risk of

injury, if any, when appropriate warnings and instructions for use were followed. Accordingly, all

of the strict-liability claims raised in the Complaint must be dismissed.

        68.      The 2016 Honda Pioneer 1000 in question is a complex product. The design,

fabrication, testing, construction, and manufacture of this product involve subject matters which



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are far beyond the knowledge, understanding, and comprehension of the average lay person.

Therefore, the consumer-expectation test announced in Tincher v. Omega Flex does not apply and

any claims for product defect raised in the Complaint based on the consumer-expectation standard

must be dismissed.

                              TWELFTH AFFIRMATIVE DEFENSE

       69.     No manufacturing defect existed in any vehicle distributed or sold by this

Defendant as the vehicle complied, in all materials respects, with the design specification

established for the product. Therefore, all manufacturing defect claims raised in the Plaintiff’s

Complaint must be dismissed.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       70.     Some or all of the claims raised in the Plaintiff’s Complaint may be barred based

on the expiration of the applicable statute of limitations

                         FOURTEENTH AFFIRMATIVE DEFENSE

       71.     The warnings and instructions provided by the Defendant with the vehicle were

appropriate and conveyed information necessary for the safe use of this 2016 Honda Pioneer 1000.

Any injuries and/or damages claimed by the Plaintiff were directly and proximately caused by

Plaintiff’s failure to heed those warnings and/or the failure to read the warnings and instructions.

                              FIFTEENTH AFFIRMATIVE DEFENSE

       72.     This Defendant raises the terms and provisions of the Pennsylvania Fair Share Act

as a defense to this claim.




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                           SIXTEENTH AFFIRMATIVE DEFENSE

        73.     The negligence and strict liability and breach of warranty claims raised in the

Complaint all fail as a matter of law as Pennsylvania does not recognize a post-sale duty to recall,

warn or retrofit.

        74.     The imposition of a post-sale duty to recall, warn or retrofit violates public policy

by inhibiting technological innovation and imposing unreasonable burdens on product suppliers.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

        75.     The averments of the Plaintiff’s Complaint do not justify or support an award of

punitive damages.

        76.     No act or omission on the part of AHM was malicious, willful, wanton, reckless or

grossly negligent. Therefore, any award of punitive damages is precluded as a matter of law.

        77.     Because of the lack of clear standards, the imposition of punitive damages against

AHM would be unconstitutionally vague and overly broad.

        78.     Any claim for punitive damages is in contravention of the rights of AHM under the

Due Process Clause of the Fifth and Fourteenth Amendments of the United States Constitution;

the Excessive Fines Clause of the Eighth Amendment of the United States Constitution; the Double

Jeopardy Clause of the Fifth Amendment of the Constitution of the United States; and similar

provisions of the Constitution of Commonwealth of Pennsylvania and/or common law and public

policies of the Commonwealth of Pennsylvania.

        79.     To allow Plaintiff to recover punitive damages would deprive AHM of its

constitutional rights to substantive and procedural due process and equal protection under the law,

which rights are guaranteed by the Fifth and Fourteenth Amendments of the United States

Constitution and the Constitution of the Commonwealth of Pennsylvania.



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       80.     Any claims for punitive damages are barred by the due process and ex post facto

clauses of the United States Constitution and the Constitution of the Commonwealth of

Pennsylvania to the extent Plaintiff seeks to impose penalties and forfeitures on AHM retroactively

for conduct that was not actionable when it occurred. Further, AHM incorporates by reference any

and all standards and/or limitations imposed upon the determination and enforceability of punitive

damages by the decisions in BMW of North America, Inc., v. Gore, 517 U.S. 559 (1996); Cooper

Industries, Inc., v. Leatherman Tool Group, 532 U.S. 424 (2001); and State Farm Mutual Auto

Ins. Co., v. Campbell, 123 S. Ct. 1513 (2003), and their progeny.

       81.     To allow Plaintiff in this action to recover punitive or exemplary damages would

deprive AHM of constitutional rights under the Eighth Amendment of the United States

Constitution which prohibits the imposition of excessive fines.



       WHEREFORE, Defendant, American Honda Motor Co., Inc., denies any and all liability

to the Plaintiff and demands the entry of judgment in its favor against the Plaintiff, Lonnie Thorpe.

       A JURY TRIAL IS DEMANDED.



Dated: January 20, 2021                       Respectfully submitted,

                                              PIETRAGALLO GORDON ALFANO
                                              BOSICK & RASPANTI, LLP

                                      By:     /s/ Clem C. Trischler
                                              Clem C. Trischler (PA52957)
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                                              Pittsburgh, PA 15219
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                                              Counsel for American Honda Motor Co., Inc.



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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this the 20th day of January, 2021, I electronically filed the foregoing
with the Clerk of the Court using the ECF system which will send notification of such filing to all
registered counsel. I hereby certify that I have served the foregoing via electronic mail and/or U.S.
Mail to all non-ECF participants.

                                       James J. Conaboy
                            Abrahamsen, Conaboy & Abrahamsen, P.C.
                                     1006 Pittston Avenue
                                      Scranton, PA 18505

                                 Counsel for Plaintiff Lonnie Thorpe


                                                /s/ Clem C. Trischler
                                                Clem C. Trischler
